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   5   Facsimile: (213) 243-6330
   6   Attorneys for Permanent Receiver
       ROBB EVANS & ASSOCIATES LLC
   7
   8
   9                          UNITED STATES DISTRICT COURT
 10                         CENTRAL DISTRICT OF CALIFORNIA
 11
 12    SECURITIES AND EXCHANGE                CASE NO. CV11-07147 GEM (Ex)
       COMMISSION,
 13                                           NOTICE OF MOTION AND
                         Plaintiff,           MOTION FOR ORDER: (1)
 14                                           APPROVING FINAL REPORT AND
                v.                            ACCOUNTING; (2) APPROVING
 15                                           RECEIVER'S AND COUNSEL'S
       CHRISTIAN STANLEY, INC.; and           FEES AND EXPENSES FROM
 16    DANIEL C.S. POWELL„                    INCEPTION THROUGH CLOSING;
                                              (3) DISCHARGING RECEIVER; (4)
 17                      Defendants,          RELIEVING RECEIVER OF ALL
                                              DUTIES AND LIABILITIES; (5)
 18    and                                    AUTHORIZING ABANDONMENT
                                              AND DESTRUCTION OF RECORDS;
 19    CHRISTIAN STANLEY, LLC; and            (6) GRANTING RELIEF FROM
       DANIEL CHRISTIAN STANLEY               NOTICE UNDER LOCAL RULE 66-7;
 20    POWELL REALTY HOLDINGS,                AND (7) FOR RELATED RELIEF;
       INC.,                                  MEMORANDUM OF POINTS AND
 21                                           AUTHORITIES IN SUPPORT
                         Relief Defendants.   THEREOF
 22
 23                                           DATE:   February 22, 2016
 24                                           TIME:   9:30 a.m.
                                              PLACE: Courtroom 650
 25
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   1   Local Rule
   2     6-1                                                                     17
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   9      § 66.06[4][a] (Matthew Bender 3d ed. Rev. 2015)                          13
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   1    TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
   2             PLEASE TAKE NOTICE that on February 22, 2016, commencing at 9:30
   3    a.m. or as soon thereafter as the parties may be heard in Courtroom 650 of the
   4    above-entitled Court located at 255 East Temple Street, Los Angeles, CA 90012,
   5    Robb Evans & Associates LLC ("Receiver") as permanent receiver of Christian
   6    Stanley, Inc., Christian Stanley, LLC and Daniel Christian Stanley Powell Realty
   7    Holdings, Inc. and their subsidiaries and affiliates ("Receivership Defendants")
   8    pursuant to the Preliminary Injunction issued September 19, 2011, will and does
   9    hereby move the Court for the following relief:
  10             1.      An order approving the Receiver's Final Report, as set forth in the
  11   accompanying memorandum of points and authorities and Declaration of Brick
  12   Kane filed concurrently herewith in support of this motion, and the Receiver's Final
  13   Accounting attached as Exhibit 1 to the Declaration of Brick Kane filed
  14   concurrently herewith;
 15             2.       An order approving and confirming all actions and activities taken by
 16    or on behalf of the Receiver and all payments made by the Receiver in connection
 17    with the administration of the receivership estate;
 18             3.       An order (a) approving all receivership administrative expenses
 19    incurred in this receivership proceeding, (b) approving and authorizing payment of
 20    all administrative expenses and all Receiver's and professionals' fees and expenses
 21    actually incurred during the period from the inception of the receivership through
 22    the closing of the receivership estate and the discharge of the receiver ("Final
 23    Expense Period"), described and estimated in the Final Accounting. For the period
 24    from the inception of the receivership through September 30, 2015, there are unpaid
 25    Receiver's fees of $47,976.90 and expenses of $20,158.16, and unpaid Receiver's
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   1    attorneys' fees incurred to Dentons US LLP1 of $9,819.90 and costs of $343.84.
   2    The Receiver estimates closing expenses from October 1, 2015 through closing and
   3    the final distribution of assets to be $18,541.23, including all Receiver's and
   4    attorneys' fees and expenses for the preparation, filing and service of the final wind
   5    up motion, payment of funds, records destruction and other related wind up
   6    activities and expenses; and (c) authorizing the Receiver to distribute all assets of
   7    the receivership estate, if any, remaining after payment of all administrative
   8    expenses, including all fees and expenses of the Receiver and the Receiver's
   9    professionals incurred through the closing of the receivership estate to plaintiff
  10    Securities and Exchange Commission ("SEC"). To the extent assets of the
  11    receivership estate are insufficient to pay such fees and expenses, the Receiver
  12   requests that the Receiver be authorized to pay such allowed fees and expenses on a
  13   pro rata basis to the Receiver and the Receiver's counsel based on the Receiver's
 14    allowed amount of fees and expenses and the Receiver's counsel's allowed amount
 15    of fees and expenses;
 16             4.       An order (a) authorizing the Receiver to abandon and destroy the
 17    records of the receivership defendants and any other corporations or businesses
 18    under the control of any of the receivership defendants in the possession, custody or
 19    control of the Receiver if, within 30 days after service of written notice to plaintiff
 20    SEC, the Receiver has not been served with a written request by the SEC for
 21    possession of the records or a subpoena by a law enforcement agency for the
 22    records, and if during such 30-day period, the Receiver is served with a written
 23    request for the records by the SEC or subpoena by a law enforcement agency for
 24    the records, authorizing the Receiver to turn over the original records to the SEC or
 25    a law enforcement agency in response to the request or subpoena, and (b) deeming
 26
 27     The Receiver has been represented in the case by the firm of McKenna Long &
       Aldridge LLP, which changed its name to Dentons US LLP on July 1, 2015. See
 28    Notice of Change of Firm Name filed July 9, 2015 (Doc. No. 193).
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   1    abandoned any assets not administered by the Receiver as of the closing of the
   2    receivership estate. The Receiver does not believe there are any known assets of
   3    the receivership estate that have not been administered;
   4             5.      An order (a) providing that neither the Receiver nor any agent,
   5    employee, member, officer, independent contractor, attorney or representative of
   6    the Receiver shall have any liability to any person or entity for any action taken in
   7    good faith in connection with carrying out the Receiver's administration of this
   8    receivership estate, and the exercise of any powers, duties and responsibilities in
   9    connection therewith, and (b) effective upon the completion of the Receiver's wind
  10   up of the estate, payment of administrative expenses and final distribution of funds
  11   as provided herein, directing that the Receiver, its agents, employees, members,
  12   officers, independent contractors, attorneys and representatives are: (i) discharged;
  13   (ii) released from all claims and liabilities arising out of and/or pertaining to the
  14   receivership herein; and (iii) relieved of all duties and responsibilities pertaining to
  15   the receivership previously established in this action;
  16            6.       An order providing for this Court to retain jurisdiction over any and all
 17    matters relating to the Receiver, the receivership and the receivership estate,
 18    including any matters relating to the distribution of funds received by the Receiver
 19    in connection with his obligations as Receiver or otherwise received after the
 20    receivership is closed, and further providing that to the extent any dispute arises
 21    concerning the Receiver's administration of the receivership estate or to the extent
 22    any person or entity seeks to pursue or assert any claim or action against the
 23    Receiver or any agent, employee, member, officer, independent contractor, attorney
 24    or representative of the Receiver, arising out of or related to this receivership, the
 25    Court shall retain jurisdiction to hear and resolve any such dispute or claim;
 26             7.       An order limiting notice of the hearing on this Motion under Local
 27    Rule 66-7 so that notice of the hearing on this Motion is deemed sufficient if served
 28    on the parties to the action and the service of a notice of hearing on this Motion on

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   1       any known potential non-investor vendor and other creditors; and
   2             8.      An order for any other and further relief as may be reasonable or
   3       appropriate in connection with the wind up and closure of the receivership estate;
   4             This motion is made pursuant to Local Civil Rule 66-7(c), (d), (e) and (f),
   5       and is based upon this notice of motion and motion, on the separate notice of
   6    hearing served concurrently herewith, the memorandum of points and authorities
   7    and Declarations of Brick Kane and Gary Owen Canis filed in support hereof, on
   8    such pleadings and files of the Court in this action, including without limitation the
   9   Report of Temporary Receiver's Activities filed on September 14, 2011 (Doc. No.
  10   15), of which the Receiver requests the Court take judicial notice pursuant to Rule
  11   201 of the Federal Rules of Evidence, and upon such other pleadings and oral and
 12    documentary evidence as may be presented at or before the time of the hearing on
 13    the motion.
 14              PLEASE TAKE FURTHER NOTICE that this motion is posted on the
 15    Receiver's website at www.robbevans.com.2 Copies of this Motion will be
 16    provided to any interested party upon receipt of a written request which may be sent
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 27     Due to the voluminous nature of the billing record exhibits attached to the
       declarations supporting the Receiver's motion, the voluminous time records will
 28    not be posted on the Receiver's website.
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   1    to: Robb Evans & Associates LLC, Attn: Imelda Perez, 11450 Sheldon Street, Sun
   2    Valley, CA 91352-1121; Telephone: (818) 768-8100; Facsimile: (818) 768-8802.
   3
       Dated: January 19, 2016            DENTONS US LLP
   4                                      GARY OWEN CARTS
                                          LESLEY ANNE HAWES
   5
   6
   7                                      By: /s/ Galy Owen Canis
                                            Gary Owen Canis
   8
                                             Attorneys for Permanent Receiver
   9                                         Robb Evans & Associates LLC
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                          1                     MEMORANDUM OF POINTS AND AUTHORITIES
                          2    I.       SUMMARY OF FACTS
                         3              This action was commenced by the Securities and Exchange Commission
                          4    (the "SEC") against defendant Christian Stanley, Inc. and individual defendant
                          5    Daniel C.S. Powell ("Powell"), and relief defendants Christian Stanley, LLC and
                         6     Daniel Christian Stanley Powell Realty Holdings, Inc. ("Realty Holdings") on or
                         7     about August 30, 2011. The SEC's complaint alleged that the defendants were
                         8     engaged in a fraudulent investment scheme which violated numerous federal
                         9     securities laws.
                        10              On September 1, 2011, Robb Evans & Associates LLC ("Receiver") was
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                        11    appointed temporary receiver against the Receivership Defendants, Robb Evans
       4-, '
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a go                    12    was appointed as the temporary receiver of Christian Stanley, Inc., Christian
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c                c)     13    Stanley, LLC and Realty Holdings, and their subsidiaries and affiliates
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F., (11 ,....---,
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                        14    ("Receivership Defendants") pursuant to a Temporary Restraining Order and
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                        15    Orders: (1) Freezing Assets; (2) Appointing A Temporary Receiver;
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       00               16    (3) Prohibiting the Destruction of Documents; (4) Requiring Accountings;
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                        17    (5) Allowing Expediting Discovery; and Order to Show Cause Re Preliminary
                        18    Injunction and Appointment of a Permanent Receiver (Doc. No. 7). Thereafter, on
                        19    December 7, 2004, the Court issued a Preliminary Injunction and Orders:
                        20    (1) Freezing Assets; (2) Prohibiting the Destruction of Documents; (3) Requiring
                        21    Accountings; and (4) Appointing A Permanent Receiver (Doc. No. 18) pursuant to
                        22    which the Receiver was appointed permanent receiver over the Receivership
                        23    Defendants.
                        24             On September 14, 2011, shortly after commencement of the action, the
                        25    Receiver filed its Report of Temporary Receiver's Activities (Doc. No. 15)
                        26    ("Receiver's Report"). The Receiver's Report explained, among other things, that
                        27    the Receivership Defendants were "hopelessly insolvent," and that the Receiver had
                        28    located no assets, and that no assets were recorded in the corporate books and

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                        1    records, to support, collateralize or secure the Secured Debentures which were
                       2     marketed to 515
                       3              investors. In fact, the Receivership Defendants earned only $31,250 over the
                       4     seven years preceding the Receiver's appointment. The Christian Stanley, Inc.
                       5     balance sheet located by the Receiver when it took physical possession of the
                       6    Receivership Defendants showed a net worth deficit of almost $5 million. The
                       7    Receiver located approximately $35,000 in cash after it was appointed, and the only
                       8    other asset recovered in the case was the net proceeds of the sale of three vehicles
                       9    in the amount of $10,465.07.
                      10              The Court stayed this action by order entered September 6, 2012 based on an
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                      11    ongoing criminal investigation of defendant Powell. Powell was indicted by the
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a go                  12    Grand Jury on February 8, 2013 for mail fraud, wire fraud and obstruction of
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C               o     13    justice. The Court granted a motion to intervene by the United States and stayed
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o\-'            2.    14    the case pending the criminal prosecution of Powell for his activities relating to the
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(z)        w          15    fraudulent investment scheme that is the subject of the SEC claims. The Receiver's
      Paz
      (2 '',„         16    representative Brick Kane was one of the witnesses who testified for the
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                      17    prosecution at the criminal trial. Powell was found guilty on all counts by a jury,
                      18    and on June 5, 2015 was sentenced to 121 months in prison, as reflected in a notice
                      19    filed by the Government in this action on June 23, 2015 (Doc. No. 189).
                      20              The Receivership Defendants have conducted no business since the inception
                      21    of the receivership and as explained below, the Receivership Defendants and the
                      22    receivership estate are insolvent. The Receiver has executed a Stipulated Judgment
                      23    on behalf of Christian Stanley, Inc., Christian Stanley, LLC and Realty Holdings
                      24    which provides, without admission of liability, for a permanent ban on activities
                      25    that would violate the SEC Act and regulations. No monetary recovery by the SEC
                      26    is provided in the Stipulated Judgment in light of the insolvency of the receivership
                      27    estate.
                      28              The receivership estate is administratively insolvent, with a deficit of over

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                1    $50,000 based on the estimated anticipated fees and expenses incurred and to be
               2     incurred to wind up the receivership. The Receiver has insufficient funds to pay in
               3     full all of the fees and expenses of the Receiver and its counsel and anticipates
               4     paying those fees and expenses pro rata as part of the closure of the estate. In light
               5     of the financial condition of the receivership, this Motion and Memorandum, along
               6     with the Declaration of Brick Kane, will constitute the Receiver's Final Report. A
               7     Final Accounting describing the receipts, disbursements and expenses of the
               8     receivership is attached as Exhibit 1 to the Kane Declaration.
               9              Receiver's Final Report and Summary of Activities of the Receiver and
              10    Counsel
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   0          11             The Receiver's Report (Doc. No. 15) filed in September 2011 details the
    F. 0
p.:71-        12    initial activities of the Receiver and the forensic accounting and analysis of the
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              13    Receivership Defendants' financial records performed by the Receiver. The
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HZum          14    Receiver took possession and control of paper and electronic records of the
Qxw           15    Receivership Defendants, met with and interviewed Powell and contacted other key
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              16    individuals, including the Chief Operating Officer of Christian Stanley, Inc. and a
              17    member of the audit firm that had prepared an audit of the financials in 2009 and a
              18    draft audit opinion in 2010. The Receiver determined through these sources and its
              19    own analysis that Powell was paid 51,350,000 from June 1, 2004 to March 31, 2011
              20    while the Receivership Defendants' net worth deficit continued to grow to almost
              21    $5 million at the time the receivership was instituted. The Receiver's forensic
              22    accounting analysis confirmed that the investment scheme operated as a Ponzi
              23    scheme, with the meager $31,250 in revenue being clearly insufficient to fund
              24    $219,903 in purported interest expense payments to investors and with the Receiver
              25    concluding that the only source from which the interest expense could have been
              26    paid was funds paid into the scheme by other investors. The Receiver's Report also
              27    describes the records of the Receivership Defendants that described purported
              28    assets that were to secure the Secured Debentures which were to support the life

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                        1    insurance investments the victims believed they were investing in when they turned
                       2     over money to the Receivership Defendants. The Receiver investigated all of the
                       3     assets that purportedly constituted the collateral for the Secured Debentures and
                       4     confirmed that none of the assets had been transferred to the Receivership
                       5     Defendants and that the Receivership Defendants in fact had no assets, other than
                       6     the small amount of cash the Receiver located at an account at Bank of America at
                       7     the outset of the case.
                       8              The Receiver's asset investigation also located two transfers of funds made in
                       9     August 2011 after Powell was aware of the SEC's investigation. One transfer was
                      10     made to an overseas company in Frankfurt, Germany for $166,980 and one was for
      ON
                      11     $100,000 to Globo International Satellite ("Globo"). The Receiver made demand
                      12     on both companies for return of the funds. Globo asserted the funds were used by
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        z.            13    that company in accordance with instructions from Powell and asserted it had
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o                     14    financial issues and was undergoing a tax audit by the IRS. Given the amounts
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                      15    involved, the practical issues in attempting to recover the funds including the fact
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      c, 0            16    that one of the transferees was an overseas company and the limited funds in the
                      17    estate, the Receiver did not pursue litigation against these entities.
                      18             The Receiver also investigated three vehicles Powell stated he purchased and
                      19    financed in his name but which he acknowledged were acquired for the benefit of
                      20    Christian Stanley, Inc. The three vehicles, which included a 2002 Ferrari
                      21    convertible, a 2010 minivan and a 2011 pickup truck, were financed through loans
                      22    obtained by Powell from Gilmore Bank. The Receiver was initially advised that
                      23    one of the vehicles had been repossessed by Gilmore Bank at or about the time of
                      24    the commencement of the receivership and that the truck was in the possession of a
                      25    former employee who did not immediately respond to the Receiver's requests for
                      26    information regarding the vehicle.
                     27              The Receiver continued to investigate the location and status of the other two
                     28     vehicles and the liens against the vehicles with assistance from the Receiver's

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   1    counsel. The Receiver's counsel made demand on Gilmore Bank for evidence
   2    regarding its lien and information regarding the vehicles. The Receiver and
   3    Gilmore Bank later entered into stipulation prepared by the Receiver's counsel and
   4    filed with the Court on January 31, 2012 (Doc. No. 75). As reflected in that
   5    stipulation, on or about September 1, 2011, Powell transferred physical possession
   6    of the three vehicles to Gilmore Bank because of pending defaults by him under the
   7    loans secured by them. The Receiver and counsel investigated the loan and security
   8    documents, confirmed the vehicles were subject to valid liens and that the loans
   9    were in default, and agreed that Gilmore Bank could liquidate the vehicles. Gilmore
  10   Bank provided the Receiver and its counsel with information on offers it had
  11    obtained to purchase the vehicles prior to the parties entering into the sale
  12   stipulation.
  13             Under the stipulation, Gilmore Bank was required to account to the Receiver
  14   for the sale proceeds and turnover any excess proceeds after liquidation. The Court
  15   approved the stipulation by order entered on February 2, 2012 (Doc. No. 76). The
  16   vehicles were all sold by Gilmore Bank, the Receiver reviewed the accounting for
  17   the sale proceeds, and the estate recovered $10,465.07 in excess proceeds from the
  18   sale. These funds, in addition to the $35,684.05 seized by the Receiver from an
  19   account at Bank of America at the outset of the receivership, are the only assets that
  20   the Receiver was able to locate company.
  21            The Receiver and counsel also had to address leases for three kiosks at
  22   certain shopping centers at the outset of the case. The Receiver reviewed the status
  23   of any personal property located at the kiosks including any property that might
  24   contain data or receivership records. The Receiver concluded that it was in the best
 25    interests of the estate to promptly reject the three leases and worked with the
 26    landlords to coordinate turnover of the kiosks.
 27             The Receiver addressed other administrative matters during the course of the
 28    case. The Receiver had to address issues regarding the Receivership Defendants'

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    1    web site. The Receiver responded to inquiries and requests for information by
   2     creditors and investors. The Receiver prepared tax returns, and the Receiver and its
   3     counsel monitored the status of this action and the related criminal proceeding. In
   4     2014, the Receiver's member, Brick Kane, prepared for and testified at Powell's
   5     criminal trial.
   6              Fees and Expenses of the Receiver and Counsel
   7             This is the Receiver's first and final fee motion. In addition to the other relief
   8    sought in this case, the Receiver seeks approval and authorization to pay the
   9    Receiver's fees and expenses and the Receiver's attorneys' fees and expenses
  10    incurred from the inception of the receivership through the closing of the estate
  11    ("Final Fee Period"). The Receiver Administration Expenses from Inception
  12    (September 1, 2011) to Closing ("Final Report") is attached as Exhibit 1 to the
  13    Declaration of Brick Kane in support of this Motion and summarizes the fees and
  14    expenses incurred by the Receiver and counsel during the receivership, as well as
  15    those that the Receiver anticipates incurring from October 1, 2015 through the
  16    closing of the estate.
  17             For the period from the inception of the receivership through September 30,
  18    2015, there are unpaid Receiver's fees of $47,976.90 and expenses of $20,158.16,
  19    and unpaid Receiver's attorneys' fees incurred to Dentons US LLP of $9,819.90
  20    and costs of $343.84. The Receiver estimates closing expenses from October 1,
  21    2015 through closing and the final distribution of assets to be a total of $18,541.23,
  22    including $6,866.23 in Receiver's fees, $1,675 in Receiver's costs, and $9,500 in
  23    attorneys' fees and $500 in attorney costs. These estimated closing fees and
  24    expenses including the Receiver's and attorneys' fees and expenses for the
  25    preparation, filing and service of the final wind up motion, payment of funds,
  26    records destruction and other related wind up activities and expenses.
  27             The Receiver's activities are detailed in its Receiver's Report and in the Final
  28    Report set forth above. The Receiver's counsel's activities and services are also

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   1   summarized in the Final Report. Detailed billing records for the Receiver and its
   2   counsel are attached to the accompanying Declarations of Brick Kane and Gary
   3   Owen Caris.
   4            The Receiver's counsel has provided legal assistance to the Receiver in the
   5   course of the Receiver's administration of the estate. The Receiver's counsel in the
   6   case has been McKenna Long & Aldridge LLP, which changed its name to Dentons
   7   US LLP ("Dentons") on July 1, 2015. The counsel fees incurred over the four-year
   8   period in which the case was pending as of September 2015 totaled an average of
   9   less than $2,500 per year and reflect higher activity during the outset of the
  10   receivership and minimal activity by counsel thereafter. The Receiver's counsel's
  11   activities are described in the Final Report above. Since September 30, 2015, and
  12   based on the lifting of the stay by the Court's June 26, 2015 minute order, the
  13   Receiver's counsel has communicated with the SEC on multiple occasions, has
  14   reviewed and signed off on a joint status report filed with the Court on December 4,
  15   2015 (Doc. No. 197) and has reviewed a proposed stipulated judgment by the
  16   Receivership Defendants which the Receiver executed on their behalf. These
  17   activities are in addition to the preparation of this Motion and the anticipated
  18   attendance at the hearing on this Motion. Counsel has also incurred costs in
  19   connection with the Motion for service on those interested parties, including
  20   Powell, required to be served by mail.
  21            The billing rates charged by the Receiver and by Dentons have remained
  22   unchanged from the inception of the receivership over four years ago, though the
  23   billing rates of the members of the Receiver and the attorneys from Dentons who
  24   have represented the Receiver have increased during those years for non-
  25   governmental matters. The rates reflect a 10% discount off the standard rates in
  26   effect for the services of the Receiver's members and Dentons attorneys at the
  27   inception of the receivership.
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    1   II.      THE RECEIVER SEEKS APPROVAL AND CONFIRMATION OF
    2            ITS ACTIVITIES IN THE CASE, DISCHARGE AND OTHER
   3             RELATED RELIEF AND INSTRUCTIONS FOR THE WIND UP OF
    4            THE ESTATE
    5            The Receiver is entitled to have the Court review and approve the Receiver's
    6   reports of activities and confirm its activities during the course of the receivership.
    7   See 2 Clark on Receivers § 383.1, pp. 643-644 (3rd ed. 1992) ("A receiver's
    8   account and report is for the purpose of infoiming the appointing court and parties
    9   interested of the receiver's stewardship. Since the receiver is the court's officer, the
  10    court may at its own instance approve or disapprove the report of the receiver").
  11    The Receiver seeks approval of the Receiver's Final Report provided herein and the
  12    accompanying Final Accounting.
  13             Court approval of the Receiver's actions and requests is consistent with
  14    federal receivership practice as required by Federal Rule of Civil Procedure,
  15    Rule 66. See 2 Clark on Receivers, § 383.1 (3d ed. 1992). The Court has wide
  16    latitude in supervising the Receiver and may provide for the administration of the
  17    receivership as it deems appropriate. 13 Moore's Federal Practice, § 66.06[4][a],
  18    p. 66-22 (Matthew Bender 3d ed. Rev. 2015).
  19             The relief sought in this Motion will promote the orderly and prompt wind up
  20    of the receivership estate in an expeditious and cost-effective manner. The relief
  21    sought is customary and appropriate in closing a receivership estate, discharging the
  22    receiver and exonerating the Receiver's bond.
  23    III.     THE RECEIVER SEEKS APPROVAL AND PAYMENT OF ALL
  24             RECEIVER'S AND COUNSEL'S FEES AND EXPENSES WHICH
  25             WERE NECESSARY, REASONABLE AND APPROPRIATE UNDER
  26             THE CIRCUMSTANCES OF THIS CASE
  27             The Receiver seeks Court approval of all of the fees and expenses of the
  28    Receiver and Receiver's counsel as set forth in the billing records attached to the

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   1    declarations filed in support of this Motion and as estimated in the Final
   2   Accounting, Exhibit 1 to the Declaration of Brick Kane in support of this Motion,
   3   with the understanding that the assets of the estate are insufficient to fully satisfy
   4   those fees and expenses and that the Receiver and counsel will share pro rata in the
   5   funds available. The Receiver further seeks authority to pay such fees and expenses
   6   from receivership assets, to the extent assets are available.
   7            The Receiver is an officer of the Court charged with many duties under the
   8   Court's receivership orders. The Court has broad discretion in determining the
   9   reasonableness of fees to be awarded a receiver. See In re San Vicente Medical
  10   Partners Ltd., 962 F. 2d 1402, 1409-1410 (9th Cir. 1992). The Court may evaluate
  11   the time and effort expended by the Receiver with respect to specific projects and
  12   aspects of the administration of the estate, and the Ninth Circuit has looked to both
  13   bankruptcy law and the lodestar standards applied in other federal cases to evaluate
  14   the award of receiver's fees and costs in a receivership. In re San Vicente Medical
  15   Partners Ltd., 962 F. 2d at 1409-1410 (in reviewing award of receiver's fees, citing
  16   with approval district court's application of factors in Johnson v. Georgia Highway
  17   Express, Inc., 488 F. 2d 714 (5th Cir. 1974) (civil rights case) and In re Yermakov,
  18   718 F. 2d 1465 (9th Cir. 1983) (applying Johnson factors in a bankruptcy case))
  19   See also Southwestern Media, Inc. v. Rau, 708 F. 2d 419 (9th Cir. 1983).
  20            With respect to Receiver's fees, because of the nature of the administrative
  21   and other services required, the "benefit" a receiver confers on receivership
  22   property cannot be determined based on the increase or decrease in the value of
  23   property in the receiver's possession. As the Court explained in Securities and
  24   Exchange Commission v. Elliott, 953 F. 2d 1560, 1577 (11th Cir. 1992):
  25                     [I]t is sometimes difficult to ascertain what type of
  26                     benefits a receiver has bestowed on receivership property.
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                      1                     [A] benefit to a secured party may take more subtle foinis
                      2                     than a bare increase in monetary value. Even though a
                      3                     receiver may not have increased, or prevented a decrease
                      4                     in, the value of the collateral, if a receiver reasonably and
                      5                     diligently discharges his duties, he is entitled to
                      6                     compensation. [Citations omitted.]
                      7   Securities and Exchange Commission v. Elliott, 953 F. 2d at 1577.
                      8            The Receiver reasonably and diligently discharged its duties in this case.
                      9   The Receiver performed many administrative duties as provided under the
                     10   receivership orders, including investigating and analyzing the receivership and
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    0                11   banking records pertaining to the Receivership Defendants to unravel the financial
                     12   effects of the fraudulent investment scheme they perpetrated. The Receiver's
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        zc)          13   analysis of business and financial records and reconstruction of the financial
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0   2                14   transactions of the Receivership Defendants provided a basis for the Government to
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QXW                  15   obtain a jury verdict in the criminal case against Powell, though the assets taken in

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                     16   from investors through the fraudulent scheme had largely been dissipated by the
                     17   time the Receiver was appointed.
                     18            In consideration of the time expended, the services rendered and the
                     19   circumstances of the case, the Receiver submits that its fees and costs and those of
                     20   its counsel are reasonable and should be approved and authorized for payment in
                     21   full as requested.
                     22   IV.      THE RECEIVER SEEKS AN ORDER LIMITING NOTICE OF THE
                     23            HEARING ON THE MOTION UNDER LOCAL RULE 66-7 BASED
                     24            ON THE LIMITED ASSETS OF THE ESTATE
                     25            The Receiver requests that this Motion be granted without requiring the
                     26   Receiver to give written notice to all known creditors pursuant to Local Rule 66-7.
                     27   Local Rule 66-7 applies to the following: "(c) reports of the Receiver;
                     28   (d) applications for instructions concerning administration of the estate;

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   1   (e) applications for discharge of the Receiver; and (f) applications for fees and
   2   expenses of the Receiver, the attorney for the Receiver and any other person
   3   appointed to aid the Receiver" (collectively referred to as "Rule 66-7 Motions").
   4   Local Rule 66-7(c)-(f).
   5            Local Rule 66-7 requires that all "known" creditors of the Receivership
   6   Defendants receive notice by mail of all Rule 66-7 Motions. In this case, there are
   7   believed to be at least 150 investors who are potential creditors in this case and
   8   there are also approximately eight vendor creditors. Further, the identity and
   9   address of each of the investors has not been confirmed by the Receiver. If the
  10   Receiver were required to give notice to all these potential creditors, such a
  11   requirement would be burdensome, time-consuming and expensive for the
  12   receivership estate, including substantial photocopying costs. Moreover, the
  13   Receiver would likely be unable to comply with such a requirement as a practical
  14   matter given that the identity and address of all of the investor creditors have not
  15   been determined.
  16            Based on the foregoing, the Receiver seeks an order providing that the notice
  17   requirement for the hearing on this Motion shall be deemed satisfied if (a) copies of
  18   this Motion are served on all parties to this action and all parties who request a copy
  19   of the Motion in writing directed to: Robb Evans & Associates LLC, Attn: Imelda
  20   Perez, 11450 Sheldon Street, Sun Valley, CA 91352-1121; Telephone: (818) 768-
  21   8100; Facsimile: (818) 768-8802; (b) the Receiver serves a notice of hearing on the
  22   Motion on all known potential non-investor creditors, such as taxing authorities and
  23   vendor creditors; and (c) the Receiver posts a copy of this Motion on the Receiver's
  24   website for this case at www.robbevans.com, allowing all interested parties an
  25   opportunity to review the Motion and to submit a written request for a copy thereof
  26   This procedure for limited notice is reasonable in light of the lack of assets and lack
  27   of confirmed information on potential investor creditors, and provides adequate
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   1   notice while allowing for efficient, cost-effective administration of the receivership
   2   estate.
   3             There is ample authority for approval of the scope and method of limited
   4   notice as set forth above. Local Rule 66-7 provides that the provisions of Local
   5   Rule 6-1 apply to notice of Rule 66-7 Motions. Local Rule 6-1 in turn provides for
   6   the filing and service of written notices of motion "unless otherwise provided by
   7   rule or ordered by the Court." This Court, as a court of equity supervising the
   8   receivership estate, may make appropriate administrative orders governing the
   9   receivership, including limitations on and changes in notice and other procedures.
  10   See F.R. Civ. P. 5(a) and (c) (authorizing the court to modify service procedures
  11   when numerous defendants are involved in litigation). Pursuant to Local Rule 66-8,
  12   a receiver is directed to administer receivership estates "as nearly as possible in
  13   accordance with the practice in administration of estates in bankruptcy." Orders
  14   limiting notice when the Bankruptcy Code or Rules would otherwise require notice
  15   to all creditors are routinely granted in bankruptcy cases to promote the expeditious
  16   and economical administration of bankruptcy estates. See In re First Alliance
  17   Mortgage Co., 269 B.R. 428, 442 (C.D. Cal. 2001) (referencing in dicta in the
  18   court's recitation of facts the bankruptcy court's order limiting notice issued in that
  19   case); 11 U.S.C. § 102(1)(A) (defining the phrase "after notice and a hearing" to
  20   mean "after such notice as is appropriate in the particular circumstances, and such
  21   opportunity for hearing as is appropriate in the particular circumstances");
  22   11.U.S.C. § 105(a) and (d) (granting broad equitable powers to the court to issue
  23   orders "necessary or appropriate to carry out the provisions" of title 11 including
  24   "prescribing such limitations and conditions as the court deems appropriate to
  25   ensure the case is handled expeditiously and economically"); and F.R. Bankr. P.
  26   2002(m) (authorizing the court to enter "orders designating the matters in respect to
  27   which, the entity to whom, and the form and manner in which notices shall be sent
  28   except as otherwise provided by these rules").

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              1    V. CONCLUSION
              2             The Receiver respectfully requests that the Court grant the Motion and all
              3   relief set forth therein for the reasons set forth in the Motion, this Memorandum and
              4   the supporting declarations filed concurrently herewith.
              5
                  Dated: January 19, 2016                 DENTONS US LLP
              6                                           GARY OWEN CARIS
                                                          LESLEY ANNE HAWES
              7
              8
              9                                           By: /s/ Gary Owen Canis
                                                            Gary Owen Canis
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 ON                                                          Attorneys for Permanent Receiver
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                                                             Robb Evans & Associates LLC
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                  1                                CERTIFICATE OF SERVICE
                  2          I am a citizen of the United States and employed in the County of Los
                  3   Angeles, State of California. I am over the age of eighteen years and not a party to
                  4   the within-entitled action. My business address is 300 South Grand Avenue, 14th
                  5   Floor, Los Angeles, CA 90071.
                  6         On January 19, 2016 I served the NOTICE OF MOTION AND MOTION
                  7   FOR ORDER: (1) APPROVING FINAL REPORT AND ACCOUNTING; (2)
                  8   APPROVING RECEIVER'S AND COUNSEL'S FEES AND EXPENSES
                  9   FROM INCEPTION THROUGH CLOSING; (3) DISCHARGING
                 10   RECEIVER; (4) RELIEVING RECEIVER OF ALL DUTIES AND
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                 11   LIABILITIES; (5) AUTHORIZING ABANDONMENT AND
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a go             12   DESTRUCTION OF RECORDS; (6) GRANTING RELIEF FROM NOTICE
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                 13   UNDER LOCAL RULE 66-7; AND (7) FOR RELATED RELIEF;
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,c2,R8-c4        14   MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT
(z) xw           15   THEREOF upon the parties and/or counsel listed and by the methods indicated on
  c(;,)          16   the attached Service List.
  .0
                 17         I declare upon the penalty of perjury that the foregoing is true and correct,
                 18   and that I am employed in the office of a member of the bar of this Court at whose
                 19   direction the service was made. Executed on January 19, 2016, at Los Angeles,
                 20   California.
                 21
                                                                              /s/ Christina O'Meara
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    1                                      SERVICE LIST
    2
               BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically
    3
        filed the document(s) with the Clerk of the Court by using the CM/ECF system.
    4
        Participants in the case who are registered CM/ECF users will be served by the
    5
        CM/ECF system. Participants in the case who are not registered CM/ECF users
   6
        will be served by mail or by other means permitted by the court rules.
   7
               Spencer E Bendel!
   8           bendells sec.gov,LAROFiling@sec.gov,marcelom@sec.gov
           •   Gary 0 Canis
   9           gary.caris(cr~,dentons.com,chris.omeara@dentons.com
           •   Peter F Dell Greco
  10           delgrecop sec.gov,LAROFiling@sec.gov,kassabguir@sec.gov
           •   Stephen I L oorvitch
  11           usacac.criminal@usdoj.gov
           •   Lesley Anne Fleetwood Hawes
  12           lesley.hawes@dentons.com,chris.omeara@dentons.com
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           •   DavidU Van Havermaat
  14           vanhavermaatd@sec.gov,LAROFiling@sec.gov,berryj@sec.gov,irwinma@s
               ec.gov
  15
               BY MAIL: I enclosed the document(s) in a sealed envelope or package
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        addressed to the persons at the addresses listed in the Service List and placed the
  17
        envelope for collection and mailing, following our ordinary business practices. I
  18
        am readily familiar with Dentons US LLP's practice for collecting and processing
  19
        correspondence for mailing. On the same day that the correspondence is placed for
  20
        collection and mailing, it is deposited in the ordinary course of business with the
  21
        United States Postal Service, in a sealed envelope with postage fully prepaid.
  22
        Cedric Carter                               Daniel C S Powell
  23    8408 Thornbury Drive                        3035 Marmil Avenue
        Antelope, CA 95843                          San Diego, CA 92139
  24
        Daniel Christian Powell #64410-112
  25    TAFT
        Correctional Institution
  26    P.O. Box 7001
        Taft, CA 93268
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